895 F.2d 1421
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Richard RICHARDSON, Plaintiff-Appellee,v.The UNITED STATES.  Defendant-Appellant.
    No. 89-1669.
    United States Court of Appeals, Federal Circuit.
    Jan. 17, 1990.Rehearing Denied Mar. 6, 1990.Suggestion for Rehearing In Banc Declined March 16, 1990.
    
      PER CURIAM.
    
    
      1
      Before MARKEY, Chief Judge, and RICH and PAULINE NEWMAN, Circuit Judges:
    
    Judgment
    
      2
      PER CURIAM.
    
    
      3
      AFFIRMED.  See Fed.Cir.R. 36.
    
    